4 F.3d 985
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank M. GASTER, Plaintiff-Appellant,v.F. Douglas TAYLOR, Warden;  Gladys Washington, IRC,Defendants-Appellees.
    No. 93-6256.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 5, 1993.Decided:  August 30, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Henry M. Herlong, Jr., District Judge.  (CA-90-2746-2-20AJ)
      Frank M. Gaster, Appellant Pro Se.
      James Albert Stuckey, Jr., Stuckey &amp; Kobrovsky, Charleston, South Carolina, for Appellees.
      D.S.C.
      AFFIRMED.
      Before MURNAGHAN, Circuit Judge, and BUTZNER and SPROUSE, Senior Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Frank M. Gaster appeals the district court's order dismissing this action brought under 42 U.S.C. Sec. 1983 (1988).  Plaintiff's case was referred to a magistrate judge pursuant to 28 U.S.C.Sec. 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Plaintiff that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Plaintiff failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.  See Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir. 1985);  United States v. Schronce, 727 F.2d 91, 93-94 (4th Cir.), cert. denied, 467 U.S. 1208 (1984);  see also Thomas v. Arn, 474 U.S. 140 (1985).  Plaintiff has waived appellate review by failing to file timely objections after receiving proper notice.  We accordingly affirm the judgment of the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    